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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,

vs.                                                         Cr. No. 09-20340

PETERSON VALERE,

                      Defendant.


 ORDER GRANTING WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT
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       BEFORE THE COURT, is the Defendant’s motion to waive his personal appearance at the

arraignment scheduled for September 9 at 9:30 a.m. Based upon the filed motion of the Defendant,

there being not objection from the United States, Counsel being in possession of a written waiver,

and for good cause shown, this motion is well taken and is therefore, GRANTED.

       IT IS SO ORDERED.



                                             s/ Charmiane G. Claxton
                                             UNITED STATES MAGISTRATE JUDGE
